EXHIBIT V
                        DECLARATION OF MONICA SARMIENTO

       Pursuant to 28 U.S.C. § 1746, I, Monica Sarmiento, declare as follows:

       1.      I am over 18 years of age and am competent to make this declaration.

       2.      I have personal knowledge of the matters stated herein and would testify to the

same if called as a witness in Court.

       3.      I am the Executive Director for the Virginia Coalition for Immigrant Rights

(“VACIR”), a 501(c)(3) nonprofit corporation with its principal place of business located in

Alexandria, Virginia. VACIR was founded in 2013 as a fiscally sponsored entity of the Virginia

Interfaith Center for Public Policy, was later sponsored by Shirlington Employment and

Education Center and New Virginia Majority, and became its own 501(c)(3) in 2017. I have led

VACIR since 2015, first as State Director and then as Executive Director beginning in 2017.

       4.      VACIR is a multi-racial and multi-ethnic coalition of member organizations that

exists to win dignity, power, and quality of life for all Virginia immigrant and refugee

communities. VACIR and its members seek to create a Virginia where all immigrant and refugee

communities have full access to family, civic, economic, and social life.

       5.      VACIR is comprised of 49 standing member organizations, including legal

services providers, civil rights groups, and labor unions, which work to support the immigrant

community in Virginia through a variety of programs, including by voter education and

empowerment programs and programs assisting eligible naturalized citizens with understanding

their eligibility and encouraging voter registration and participation in voting.

       6.      Currently, VACIR standing member organizations are: ACLU People Power –

Fairfax; ACLU of Virginia; African Communities Together; American Jewish Committee;



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AYUDA; Bread for the World; Centreville Immigration Forum; Church World Service;

Coalition of Asian Pacific Americans of Virginia; Congregation Action Network; Cornerstone;

Domestic Workers Alliance; Dream Project; Dreamers Mothers In Action; Edu Futuro;

EMGAGE; Fuego Coalition; Hamkae Center; Hispanic Organization of Leadership and Action;

Jewish Community Relations Council; Just Neighbors; Korean American Association of

Northern Virginia; Latina Institute for Reproductive Justice; League of United Latin America

Citizens; Legal Aid Justice Center; Multicultural Community Center; Neighbor's Keeper; New

Virginia Majority Education Fund; Northern Virginia Affordable Housing Alliance; NoVA

Labor; Progress Virginia; Sacred Heart Catholic Community Center; SEIU 512; SEIU 32BJ;

Shirlington Employment and Education Center; Sin Barreras; Tenants and Workers United; The

Commonwealth Institute for Fiscal Analysis; Unitarian Universalist for Social Justice; United

Food and Commercial Workers Local 400; Virginia Civic Engagement Table; Virginia Coalition

of Latino Organizations; Virginia Immigration Intercollegiate Alliance; Virginia Interfaith

Center for Public Policy; Virginia League of Planned Parenthood; Virginia League of Women

Voters; Virginia Organizing; Virginia Poverty Law Center; and Voices for Virginia’s Children.

       7.      VACIR has an annual operating budget of approximately $455,000. VACIR

employs one full-time Executive Director, multiple part-time consultants performing operations,

fundraising, and bookkeeping roles, and temporary paid interpreters in a variety of languages.

VACIR also accepts significant volunteer contributions from its members in a variety of

capacities, including payment of voluntary dues and active service on one of four standing

committees.

       8.      VACIR maintains four standing committees—Local; State; Federal; and Civic

Engagement—which aim to focus and translate the collective capacity and weight of VACIR’s



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members into maximizing our collective impact in making progress for the communities we

serve.

         9.     The Local Committee focuses on supporting progress at the community level. For

example, recent initiatives have included organizing immigrant communities around access to

affordable housing and preventing evictions.

         10.    The State Committee engages in state legislative advocacy, including lobbying

members of the Virginia General Assembly, focusing on specific issues as voted on by VACIR

members based on input from the communities they serve. Recent issue areas have included

Medicare expansion for low income children regardless of immigration status, housing, and

tenants’ rights bills.

         11.    The Federal Committee is primarily focused on advocacy and oversight of federal

immigration detention facilities located in Virginia, for example ensuring detainees are able to

exercise their religious freedom.

         12.    The Civic Engagement Committee organizes trainings for members on

developing their own civic engagement programs focused on the communities they serve,

including supporting voter outreach and education on the voting-related issues facing immigrant

communities, in particular voter eligibility and how to participate, as well as providing re-grants

to support those programs. In 2024, VACIR has awarded $90,100 in re-grants distributed to

member organizations operating grassroots voter engagement programs, including $6,900 in

stipends for community civic engagement trainings.

         13.    In addition to providing support for VACIR member organizations, VACIR

works with non-VACIR members working in support of immigrant rights on specific subject

matter areas with aligned values.



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       14.     In response to Governor Youngkin’s Executive Order 35 and the Purge Program,

VACIR has had to upend its normal activities and significantly redirect its limited resources

away from its core organizational priorities and toward responding to and mitigating the ongoing

harms inflicted upon immigrant communities.

       15.     After Executive Order 35 was issued on August 7, 2024, VACIR sprung into

action, convening multiple meetings with member organizations whose communities include

naturalized citizens who are subject to heightened risk of removal due to the Purge Program and

who now face intimidation and dissuasion from voting due to the threats of criminal

investigation and prosecution laid out in Executive Order 35.

       16.     VACIR has conducted numerous group trainings and one-on-ones for member

organizations about how to best engage with the communities they serve on this issue, and

identify eligible voters who may have received a removal notice or been removed from the rolls

or who face heightened risk of removal—all in multiple languages and with cultural competency

for specific communities. VACIR has also convened and contributed to meetings with

community members where we provided multilingual support and assistance in understanding

voter eligibility and guidance on how to successfully participate in the November 5, 2024,

election despite individuals potentially being flagged for removal by the Purge Program.

       17.     VACIR has also expended considerable resources investigating the potential

impacts of Executive Order 35 and the Purge Program on naturalized citizens through public

records requests in an effort to better inform its members and affected communities about how to

respond. VACIR sent public records requests to the Department of Elections, Department of

Motor Vehicles, Office of the Attorney General, and Office of the Governor on August 20, 2024,

and participated in follow-up meetings with the Department of Elections on September 9 and



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with the Department of Motor Vehicles on September 20. VACIR advanced $4,104.90 to the

Department of Motor Vehicles on September 11 to cover their office’s assessed costs for the

review and production of responsive records. VACIR’s efforts to obtain public records related to

Executive Order 35 and the Purge Program are ongoing and are likely to consume significant

additional time and money.

       18.     Because of the urgent need to divert its limited resources to respond to Executive

Order 35 and the Purge Program, VACIR has been severely limited in its ability to advance its

core mission in other areas. Since August 7, all of VACIR’s civic engagement work has been

focused on ensuring that eligible voters who may be subject to removal or intimidation are able

to successfully cast their ballot in the November 5 election, at the expense of its usual voter

engagement and turnout efforts. Additionally, VACIR and its members have been severely

limited in their ability to prepare for the 2025 legislative session, which begins in January 2025,

and other critical programs have had to be de-prioritized because of VACIR’s need to respond to

this urgent threat to voter participation by eligible voters in Virginia’s immigrant communities.

       19.     VACIR’s efforts will not be able to fully mitigate the effects of the Purge

Program on naturalized citizens. The Purge Program will inevitably affect those eligible

naturalized citizens whom VACIR and its members have helped register or have encouraged to

vote, either because that voter has been purged or decides not to vote because of the threat of

investigation or prosecution. Thus, the Purge Program will directly interfere with VACIR and its

members’ efforts to assist eligible voters in participating in the 2024 general election.

       20.     At the September 9, 2024, meeting with Department of Elections staff and their

counsel discussing my and VACIR’s August 20 records requests made under the National Voter

Registration Act of 1993 and the Virginia Freedom of Information Act, they informed me that



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the list of registered voters removed on the basis of alleged non-citizenship was in their

possession, but that they would refuse to provide it until 90 days after the date of request. When

my counsel present at the meeting asked what was their basis for refusing to provide these

records until 90 days after the date of request, Department of Elections staff responded that their

understanding was that they were not required to provide these records until 90 days after the

date of request under the National Voter Registration Act of 1993.

       21.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.



      Executed this 15th day of October 2024 in Virginia Beach, VA.



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                                      Monica Sarmiento
                                      Executive Director
                                      Virgnia Coalition for Immigrant Rights




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